Case 23-12825-MBK Doc 614-6 Filed 05/26/23 Entered 05/26/23 23:11:45     Desc
             Exhibit 5 to Declaration of Daniel J. Merrett Page 1 of 6



                                 EXHIBIT 5
Case 23-12825-MBK Doc 614-6 Filed 05/26/23 Entered 05/26/23 23:11:45     Desc
             Exhibit 5 to Declaration of Daniel J. Merrett Page 2 of 6
                                                                                296

    1                       UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
    2                             CHARLOTTE DIVISION

    3   IN RE:                              :    Case No. 21-30589-JCW

    4   LTL MANAGEMENT LLC,                 :    Chapter 11

    5         Debtor,                       :    Charlotte, North Carolina
                                                 Friday, November 5, 2021
    6                                       :    9:04 a.m.

    7   : : : : : : : : : : : : : : : : : : : : : : : : : : : : : : : :

    8   LTL MANAGEMENT LLC,                 :    AP 21-03032-JCW

    9         Plaintiff,                    :

   10               v.                      :

   11   THOSE PARTIES LISTED ON             :
        APPENDIX A TO COMPLAINT and
   12   JOHN AND JANE DOES 1-1000,          :

   13         Defendants.                   :

   14   : : : : : : : : : : : : : : : : : : : : : : : : : : : : : : : :

   15
                                        VOLUME 2
   16                          TRANSCRIPT OF PROCEEDINGS
                         BEFORE THE HONORABLE J. CRAIG WHITLEY,
   17                        UNITED STATES BANKRUPTCY JUDGE

   18

   19   Audio Operator:                     COURT PERSONNEL

   20
        Transcript prepared by:             JANICE RUSSELL TRANSCRIPTS
   21                                       1418 Red Fox Circle
                                            Severance, CO 80550
   22                                       (757) 422-9089
                                            trussell31@tdsmail.com
   23
        Proceedings recorded by electronic sound recording; transcript
   24   produced by transcription service.

   25
Case 23-12825-MBK Doc 614-6 Filed 05/26/23 Entered 05/26/23 23:11:45     Desc
             Exhibit 5 to Declaration of Daniel J. Merrett Page 3 of 6
        KIM - REDIRECT                                                          336

    1               I'm going to ask Patrick to kick us right back to

    2   Exhibit 2 for a moment, Paragraph 1, little Romanette (iv).

    3   BY MR. JONES:

    4   Q    And this, again, is in the transfer of the assets

    5   paragraph.      Do you, do you see little Romanette (iv), Mr. Kim?

    6   A    Yes.

    7   Q    And, in fact, deals with such things as plants and where

    8   they're located, does it not?

    9   A    It does.

   10   Q    What does it say there?

   11   A    It says, "All real estate, improvements, and appurtenances

   12   thereto shall be transferred to be the property of the

   13   subsidiary."

   14   Q    Effective when, sir?

   15   A    Effective January 1, 1979.

   16   Q    Thank you, Mr. Kim.

   17        I'm going to change topics and talk just for a moment about

   18   the Ingham verdict.

   19        You were asked yesterday about the verdict form in that

   20   case, is that right?

   21   A    Yeah, that is true.

   22   Q    And you were asked, more specifically, about punitive

   23   damages, am I right?

   24   A    Yes.   I was, I was directed to the punitive damages lines.

   25   Q    What do you know about what each of the 22 plaintiffs in
Case 23-12825-MBK Doc 614-6 Filed 05/26/23 Entered 05/26/23 23:11:45     Desc
             Exhibit 5 to Declaration of Daniel J. Merrett Page 4 of 6
        KIM - REDIRECT                                                          337

    1   the Ingham case received as a matter of compensatory damages?

    2   A    They all received the same amount.

    3   Q    And did that matter -- did exposure period, that is, when

    4   in time they were exposed to or alleged to have been exposed to

    5   talc, matter?

    6   A    No.    So there are 22 plaintiffs in one case ranging in, in

    7   exposure time periods and, and ranging in what products they

    8   used at what periods of time, you know.          There was differences

    9   in their injuries in terms of how severe they were.              We had --

   10   some were, had been deceased.          Others were in remission.

   11   Regardless of all that, they, they were all awarded the same

   12   amount in compensatory damages.

   13   Q    We're going to pull up a slide here, sir, and ask you to

   14   look at it with me, which will be a summary of the plaintiffs'

   15   fact sheets in, in that case.

   16               MR. JONES:   That's going to be new Exhibit, Debtor's

   17   Exhibit 80 --

   18               UNIDENTIFIED SPEAKER:      8.

   19               MR. JONES:   - 8.    88.

   20               THE COURT:   88?

   21               MR. JONES:   88.    That was either Carl Eller or Jim

   22   Page.      It'll come back.

   23   BY MR. JONES:

   24   Q    Sir, the -- here we have different years of exposure -- I'm

   25   sorry -- reflected that you just discussed --
Case 23-12825-MBK Doc 614-6 Filed 05/26/23 Entered 05/26/23 23:11:45     Desc
             Exhibit 5 to Declaration of Daniel J. Merrett Page 5 of 6
        KIM - REDIRECT                                                          338

    1   A    Yeah.

    2   Q    -- but the same compensatory award, is that right?

    3   A    Yes.

    4   Q    And these are listing the plaintiffs on the left-hand side?

    5   A    They are.

    6   Q    The alleged period of exposure in the second column?

    7   A    Yes.

    8   Q    Whether or not they were exposed to Shower to Shower in the

    9   third column --

   10   A    Yes.

   11   Q    -- on the left?

   12        And then the total compensatory award you referred to, is

   13   that right?

   14   A    That's true, yes.

   15   Q    And those numbers are all the same?

   16   A    They are all the same.

   17               MR. SILVERSTEIN:    Your, your Honor?      I'm sorry.

   18   Just --

   19               THE COURT:    Yes, sir, Mr. Silverstein.

   20               MR. SILVERSTEIN:    Can -- can we -- we've, we've never

   21   seen this before.        Can we get some foundation for what this is

   22   that we're all looking at?

   23               THE COURT:     I'll take that as an objection.

   24               Sustained.

   25               MR. SILVERSTEIN:    Yes.
Case 23-12825-MBK Doc 614-6 Filed 05/26/23 Entered 05/26/23 23:11:45     Desc
             Exhibit 5 to Declaration of Daniel J. Merrett Page 6 of 6
        KIM - REDIRECT                                                          339

    1               THE COURT:   Go ahead.

    2   BY MR. JONES:

    3   Q    Mr. Kim, can you tell the Court what this --

    4   A    Yes.

    5   Q    -- a summary of?

    6   A    Yes.

    7        So, so I attended the trial of Ingham.         All the -- one of

    8   the things that, that plaintiffs' counsel did was they asked

    9   every, every plaintiff what years of exposure they were exposed

   10   to and what products they used.

   11        So this is a just a summary of the alleged -- and it's also

   12   in the complaint and fact sheets.        And so this is just a

   13   summary of the data from those sources that tell us what the

   14   alleged use was of, of Johnson's Baby Powder -- and so that

   15   would be the entire usage -- what was the alleged use of Shower

   16   to Shower and, and, and the dates.         And then the award is just

   17   from the verdict sheet, how much each plaintiff was awarded.

   18   Q    And, and, sir, the fact sheets are documents generated by

   19   the plaintiffs in the case?

   20   A    They are.

   21   Q    And they've been all provided to counsel for, our

   22   colleagues on the other side of the table here today.

   23   A    I -- I --

   24   Q    I'm not asking you that question.

   25   A    Okay.
